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                                        UNITED STATES BANKRUPTCY COURT
                                             Eastern District of Michigan

In Re: Edward L. Parker                                                                            Case No. 16-42481-PJS
                                                                                                   Chapter 13
                                     Debtor(s).                                                    Judge Phillip J. Shefferly

Address: 26667 Monticello Street, Inkster, MI 48141
Last four digits of Social Security Number(s): xxx-xx-4420


                                 NOTICE OF MOTION FOR ORDER ALLOWING
                          INTERNAL REVENUE SERVICE TO FILE LATE PROOF OF CLAIM

          Debtor(s) have filed papers with the Court requesting that an Order be entered allowing Internal Revenue Service to
file late Proof of Claim.
       Your rights may be affected. You should read these papers carefully and discuss them with your attorney, if
you have one in this bankruptcy case. (If you do not have an attorney, you may wish to consult one.)
        If you do not want the Court to grant the Motion for Order Allowing Internal Revenue Service to file late Proof of
Claim, of if you want the court to consider your views on the Motion, within fourteen (14) days, you or your attorney must:
         1.       File with the Court a written response or answer, explaining your position at: *
                                                   United States Bankruptcy Court
                                                    211 West Fort Street, Suite 2100
                                                       Detroit, Michigan 48226
                  If you mail your response to the Court for filing, you must mail it early enough so that the Court will
                  receive it on or before the date stated above.
                  You must also mail a copy to:         Firebaugh & Andrews, P.L.L.C.
                                                        38545 Ford Road, Suite 104
                                                        Westland, Michigan 48185
         2.       If a response or answer is timely filed and served, the clerk will schedule a hearing on the Motion and
                  you will be served with a notice of the date, time and location of the hearing.
        If you or your attorney do not take these steps, the Court may decide that you do not oppose the relief sought
in the motion or objection and may enter an order granting that relief.


Date: June 30, 2020                                                     /s/ Samuel G. Firebaugh
                                                                 ___________________________________________
                                                                        Samuel G. Firebaugh (P-34276)
                                                                        Firebaugh & Andrews, P.L.L.C.
                                                                        Attorneys for Debtor(s)
                                                                        38545 Ford Road, Suite 104
                                                                        Westland, MI 48185
                                                                        (734) 722-2999
                                                                        firebaughandrews@comcast.net
________________________
* Response or answer must comply with F.R. Civ. P. 8(b), (c) and (e)




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                                         United States Bankruptcy Court
                                          Eastern District of Michigan
                                          Southern Division at Detroit

In Re: Edward L. Parker                                                         Case No. 16-42481-PJS
                                                                                Chapter 13
                        Debtor(s).                                              Judge Phillip J. Shefferly


                                               PROOF OF SERVICE


       I, the undersigned, certify under penalty of perjury that on June 30, 2020, I served copies of the following
document(s) filed in the above captioned case:


    1. MOTION FOR ORDER ALLOWING INTERNAL REVENUE SERIVCE TO FILE LATE
PROOF OF CLAIM (dated: June 22, 2020), together with all exhibits and attachments, if any;

     2. NOTICE MOTION FOR ORDER ALLOWING INTERNAL REVENUE SERIVCE TO FILE
LATE PROOF OF CLAIM


upon all those parties specified on the matrix list attached hereto, at the addresses specified for said parties on
such matrix list, all by first class mail with fully prepaid postage affixed.




Dated: June 30, 2020                                           /s/ Stephanie A. Best
                                                       ________________________________________________
                                                             Stephanie A. Best, Legal Assistant
                                                             Firebaugh & Andrews, P.L.L.C.
                                                             Attorney(s) for Debtor(s)
                                                             38545 Ford Road, Suite 104
                                                             Westland, MI 48185
                                                             (734) 722-2999




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Label Matrix for local noticing             21st Century Insurance                       Allied Collection Services
0645-2                                      3 Beaver Valley Road                         8550 Balboa Boulevard, Suite 323
Case 16-42481-pjs                           Wilmington, DE 19803-1125                    Northridge, CA 91325-5806
Eastern District of Michigan
Detroit
Tue Jun 30 11:23:01 EDT 2020
Roberta W. Andrews                          Canton Asthma & Allergy                      Capital One
38545 Ford Rd.                              1600 South Canton Center Road                attn: Bankruptcy Deptartment
Suite 104                                   Canton, MI 48188-0004                        P.O. Box 30285
Westland, MI 48185-7901                                                                  Salt Lake City, UT 84130-0285


Capital One Bank (USA), N.A.                Krispen S. Carroll                           City of Detroit
PO Box 71083                                719 Griswold                                 Parking Violations Bureau
Charlotte, NC 28272-1083                    Suite 1100                                   P.O. Box 2549
                                            Detroit, MI 48226-3314                       Detroit, MI 48231-2549


City of Inkster - City Treasurer            City of Inkster - Water and Sewer            Clinical Associates Cardiovascular
26215 Trowbridge Street                     26215 Trowbridge Street                      8080 Grand River Avenue, Suite 300
Inkster, MI 48141-2479                      Inkster, MI 48141-1800                       Farmington, MI 48336



DTE Energy                                  Department of Education/Nelnet               Direct Loan Servicing Center
attn: Bankruptcy Department                 3015 Parker Road, Suite 400                  P.O. Box 5609
One Energy Plaza                            Aurora, CO 80014-2904                        Greenville, TX 75403-5609
2160 WCB
Detroit, MI 48226-1279

Echo Management Services                    Samuel Firebaugh                             First Federal Credit Control, Inc.
P.O. Box 160                                38545 Ford Road                              24700 Chagrin Blvd Suite 205
Warren, MI 48090-0160                       Suite 104                                    Beachwood, OH 44122-5662
                                            Westland, MI 48185-7901


Marcy J. Ford                               Moe Freedman                                 Garden City Hospital
31440 Northwestern Highway                  3030 W. Grand Blvd.                          attn: Patient Accounts
Suite 200                                   Ste. 10-200                                  6245 Inkster Road
Farmington Hills, MI 48334-5422             Detroit, MI 48202-6030                       Garden City, MI 48135-4001


IC Systems, Inc.                            Internal Revenue Service                     Michael S. Finn, Ph.D., P.C.
P.O. Box 64378                              Centralized Insolvency Operations            23975 Novi Road #103
Saint Paul, MN 55164-0378                   P.O. Box 7346                                Novi, MI 48375-2459
                                            Philadelphia, PA 19101-7346


Michigan Department of Treasury             Nutribullet LLC                              Oakwood Hospital
Bankruptcy Unit                             c/o Allied Collection Services               P.O. Box 48458
PO Box 30168                                8550 Balboa Blvd, Suite 323                  Oak Park, MI 48237-6058
Lansing, MI 48909                           Northridge, CA 91325-3562
5 48909-7668

Ocwen Loan Servicing, LLC                   Ocwen Loan Servicing, LLC                    Paramount Recovery Systems
P.O. Box 24737                              P.O. Box 24738                               111 E. Center Street
West Palm Beach, FL 33416-4737              West Palm Beach, FL 33416-4738               Lorena, TX 76655-9651

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Edward L. Parker                                     Professional Account Management, LLC                 Quantum3 Group LLC as agent for
26667 Monticello Street                              Specializing in Receivables Management               CF Medical LLC
Inkster, MI 48141-1258                               P.O. Box 2549                                        PO Box 788
                                                     Detroit, MI 48231-2549                               Kirkland, WA 98083-0788


Quantum3 Group LLC as agent for                      Royal Dentistry PLLC                                 (p)RUSSELL COLLECTION AGENCY
CP Medical LLC                                       24718 Michigan Avenue                                PO BOX 7009
PO Box 788                                           Dearborn, MI 48124-1750                              FLINT MI 48507-0009
Kirkland, WA 98083-0788


Santander Consumer USA                               Second Round                                         Skelly & Zager, D.D.S., P.C.
attn: Bankruptcy Department                          1330 Wonder World Drive, Suite 104                   32788 Five Mile Road
P.O. Box 560284                                      San Marcos, TX 78666-7567                            Livonia, MI 48154-6002
Dallas, TX 75356-0284


Southgate Radiology                                  State of Michigan Department of Treasury             Stuart-Lippman
P.O. Box371863                                       Attorney General                                     5447 East 5th Street, Suite 110
Pittsburgh, PA 15250-7863                            Cadillac Place, 10th Floor                           Tucson, AZ 85711-2345
                                                     3030 W. Grand Blvd, Ste 10-200
                                                     Detroit, MI 48202-6030

The Bank of New York Mellon                          U.S. Attorney
c/o Ocwen Loan Servicing, LLC                        attn: Civil Division
Attn: Bankruptcy Department                          INTERNAL REVENUE SERVICE
P.O. Box 24605                                       211 W. Fort St., Ste. 2001
West Palm Beach, FL 33416-4605                       Detroit, MI 48226-3220



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Russell Collection Agency, Inc.                      (d)Russell Collection Agency, Inc.
G3285 Van Slyke Road                                 P.O. Box 7009
Flint, MI 48507                                      Flint, MI 48507-0009




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)ERISA Pension Plan Loan                           (u)The Bank Of New York Mellon                       End of Label Matrix
                                                                                                          Mailable recipients   43
                                                                                                          Bypassed recipients    2
                                                                                                          Total                 45




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